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 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   F.R.,                                             No. CV-21-00339-PHX-DLR
10                  Plaintiff,                         ORDER
11   v.
12   United States of America,
13                  Defendant.
14
15           The Court having reviewed the parties’ fifth Motion for Stay (Doc. 23), and good
16   cause appearing;

17           IT IS ORDERED that the Motion is GRANTED. This action shall be stayed for
18   sixty (60) days, until February 12, 2022, at which time the parties will advise the Court

19   whether an additional stay is sought. The deadline for Defendant to answer or otherwise

20   respond to the Complaint shall be fourteen (14) days after expiration of the stay.
21           Dated this 17th day of December, 2021.
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                                                   Douglas L. Rayes
26                                                 United States District Judge
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